Case 1:20-cv-01778-JPH-MJD Document 50 Filed 08/11/21 Page 1 of 6 PageID #: 1477




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION

 LISA LOUKS,

                       Plaintiff,
                                                      Case No. 1:20-cv-01778-JPH-MJD
          v.

 COSTCO WHOLESALE CORPORATION,

                       Defendant.


                    COSTCO’S MOTION TO STRIKE PLAINTIFF’S SUR-REPLY

                                            Introduction

          Costco moves this Court to strike the Sur-Reply filed by Plaintiff Lisa Louks [ECF

 No. 47]. While the act of filing a sur-reply is not per-se improper under the Local Rules for the

 Southern District of Indiana, Louks’ Sur-Reply fails to cure the evidentiary defects identified by

 Costco in its Reply [ECF No. 46], and therefore does not fall within the narrow confines of Local

 Rule 56-1(d), and is thus impermissible. Further - and more importantly to the Motion currently

 pending before the Court - none of these evidentiary defects create a material issue of fact as to

 whether Costco failed to accommodate Louks or retaliated against her -- indeed the undisputed

 facts establish that Costco did neither. In short, the evidence cited below should be struck and

 disregarded by the Court, making summary judgment proper.

 A.       Paige Hall’s Declaration Should Be Struck

          Costco does not agree that Paige Hall’s declaration [ECF 44-6] meets the requirements of

 either Federal Rule of Civil 56 or Federal Rule of Evidence 701 and asks the Court to disregard it

 in its entirety.




 73930192v.5
Case 1:20-cv-01778-JPH-MJD Document 50 Filed 08/11/21 Page 2 of 6 PageID #: 1478




          Louks’ claims that Hall makes her declaration statements based on her personal

 perception, but she provides the Court with hardly any context and no foundation to support

 those perceptions. Rather, Hall’s statements such as “we frequently worked together” or that it

 was “common” for the two to work an entire shift, fail to meet the specificity requirements of

 FRE 701. Hall’s declaration provides no details as to how many times these two hourly, part-

 time employees worked together or the amount of time that their shifts overlapped.

          On this point, the Notes of the Advisory Committee on this Rule of Evidence are both

 illustrative and helpful. Federal Rule of Evidence 701 requires the opinion of a lay witness to be

 “helpful to clearly understanding the witness’s testimony or to determining a fact in issue …”

 Fed. R. Evid. 701(b). Hall’s declaration is neither. Indeed, the “testimony” of a non-

 management employee, who did not even hold the same position as Louks, who was not

 responsible for evaluating Louks’ performance or determining whether she was meeting her

 Department Manager’s expectations, or able to perform the essential functions of her position as

 a part-time pharmacist, lacks the foundation necessary to allow her personal observations be

 admissible, and is not “helpful in resolving issues.”

 (https://www.law.cornell.edu/rules/fre/rule_701.) The Advisory Committee Notes contemplate

 exactly what is happening here and caution this should not be allowed: Louks is attempting to

 “introduce meaningless assertions which amount to little more than choosing up sides,” and

 Costco asks the Court to exclude Hall’s Declaration its “for lack of helpfulness, [which] is called

 for by the rule.” Id.

 B.       Paragraph 34 of Louks’ Declaration Should be Struck

          Contrary to her assertions, Louks has done nothing to establish either own personal

 knowledge or her “ability to infer” about what it was (if anything) her health care provider did in

 order to regularly “ke[ep] Unum updated as to her condition.” (ECF No. 44-1, Louks

                                                  2
 73930192v.5
Case 1:20-cv-01778-JPH-MJD Document 50 Filed 08/11/21 Page 3 of 6 PageID #: 1479




 Declaration ¶34.) Simply incanting such a statement does not make it so. Rather the Bitler case

 (relied upon by Louks, ECF No. 47, at 3) goes on to point out that “[t]he following statements do

 not comply with the rule and should be disregarded: (1) conclusory allegations lacking

 supporting evidence; (2) legal argument; (3) self-serving statements without factual support in

 the record; (4) inferences or opinions not grounded in observation or other first-hand

 experience; and (5) mere speculation or conjecture. Bitler Inv. Venture II, LLC v. Marathon

 Ashland Petroleum, LLC, 2011 WL 1296167, at *1-2 (N.D. Ind. Mar. 31, 2011) (emphasis

 added) (agreeing to strike those paragraphs that go “beyond [the plaintiff’s] personal knowledge

 and competence”). Paragraph 34 of Plaintiff’s Declaration contains all these non-complaint

 concerns and should be stricken (along with her other conclusory declaration statements that fail

 to establish any personal knowledge or rely on any factual support in the record) and disregarded

 by the Court in deciding Costco’s Motion for Summary Judgment.

 C.       Louks Declaration Par. 110 is Contrary to Her Deposition Testimony

          Louks’ Sur-Reply suggests that Costco did not identify the deposition testimony that was

 contrary to the statement contained in Louks’ Declaration Paragraph 110. (ECF No. 47 at 4.)

 This is simply not accurate. In its Reply (see ECF 46 at 7-8), Costco specifically set forth and

 emphasized the admissions Louks made in her deposition (see Costco’s SOF ¶ 30 (ECF 40, p. 8),

 which cites Louks’ deposition at ECF 38-1 at 243:6-18, 243:23-244:10, 244:22-245:1). Costco

 set out this testimony immediately prior to citing the contradictory and self-serving statements in

 Paragraph 110 of Louks’ Declaration. Costco asks the Court to disregard Louks’ contradictory

 testimony when deciding its Motion for Summary Judgment. See Odongo v. Brightpoint N. Am.,

 2018 U.S. Dist. LEXIS 1616668 at *16-17 (S.D. Ind. Sept. 21, 2018) (plaintiff could not use an

 affidavit that contradicts his prior deposition testimony to defeat summary judgment) (citing US

 v. Funds in Amt. of Thirty Thousand Six Hundred Seventy Dollars, 730 F.3d 711 (7th Cir. 2013)).

                                                  3
 73930192v.5
Case 1:20-cv-01778-JPH-MJD Document 50 Filed 08/11/21 Page 4 of 6 PageID #: 1480




 D.       Documents Produced in Discovery

          In its Reply, Costco took issue with the facts that Louks’ counsel attempted to

 authenticate documents about which she has no personal knowledge -- an argument to which

 Louks fails to respond. Roloff v. Sullivan, 772 F. Supp. 1083, 1088 (N.D. Ind. 1991), aff’d, 975

 F.2d 333 (7th Cir. 1992) (Affidavits submitted on a Rule 56 summary judgment motion based on

 documents or reports received by the affiants, but about which the affiants have no personal

 knowledge, contain inadmissible hearsay… and “Moreover, affidavits of attorneys who lack

 personal knowledge of information related in supporting documentation are not entitled to

 consideration on a summary judgment motion”) (emphasis added).

          Even if the Court determines that documents produced by her counsel in discovery are

 “authentic” that does not relieve them of the fact that they still contain inadmissible hearsay --

 which Louks’ Sur-Reply also does not address. See Igasaki v. Illinois Dep't of Fin. & Pro.

 Regul., 988 F.3d 948, 955–56 (7th Cir. 2021) (holding that record materials must still be

 admissible as evidence at trial, “although the form produced at summary judgment need not be

 admissible” (citing Wragg v. Vill. of Thornton, 604 F.3d 464, 466 (7th Cir. 2010)) and “[i]f the

 evidence is inadmissible hearsay, the courts may not consider it.” (citing Cairel v. Alderden, 821

 F.3d 823, 830 (7th Cir. 2016)). The statements contained in the EEOC file, Unum’s file

 produced in discovery, and documents produced by Costco in discovery cannot be considered by

 the Court on summary judgment to the extent that they contain inadmissible hearsay. For

 example, neither Louks -- nor her counsel -- could ever testify at trial regarding statements by

 Louks’ physicians made directly to Unum (i.e., not to any formal party to this litigation)

 regarding Louks’ work abilities and could never overcome Costco’s hearsay objection.

          Also unaddressed by Louks are the blanket citations to multi-page, group exhibits that

 fail to delineate the page or paragraph number where the supporting evidence can be found,

                                                   4
 73930192v.5
Case 1:20-cv-01778-JPH-MJD Document 50 Filed 08/11/21 Page 5 of 6 PageID #: 1481




 which remains in violation of the Court’s “practices and procedures” (April 2021), and which

 states that evidence must be so specified, or face the consequence that the “unsupported facts

 may be disregarded.” See Bluestein v. Cent. Wisc. Anesthes., S.C., 769 F.3d 944, 948 n.1 (7th

 Cir. 2014).

                                             Conclusion

          For the reasons set forth above, Costco asks the Court to strike and disregard Louks’ Sur-

 Reply [ECF 47] when deciding Costco’s Motion for Summary Judgment.




 DATED: August 11, 2021                               Respectfully submitted,

                                                      COSTCO WHOLESALE CORPORATION



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                                                  5
 73930192v.5
Case 1:20-cv-01778-JPH-MJD Document 50 Filed 08/11/21 Page 6 of 6 PageID #: 1482




                                  CERTIFICATE OF SERVICE

          The undersigned certifies that on the 11th day of August, 2021, the foregoing

 DEFENDANT COSTCO WHOLESALE CORPORATION’S MOTION TO STRIKE PLAINTIFF’S SUR-

 REPLY was served via the Court’s CM/ECF system to:


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                                                  6
 73930192v.5
